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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

BROADVOICE, INC.
   Plaintiff,


       V                           CA 08-10197-JLT


RATES TECHNOLOGY, INC.
 Defendant.


                         SETTLEMENT ORDER OF DISMISSAL
TAURO, D.J.

   The court having been advised on February 25, 2010 by counsel for the

parties that the above action has been settled:    IT IS ORDERED that this action is

hereby dismissed without prejudice to reconsideration and possible re-opening if within

60 days of this order a motion is filed which represents that the terms of the settlement

agreement have not been performed and there is good cause for the non-performing

party or parties to have failed to perform.




                                                       Zita Lovett
                                                              /s/

                                                       Courtroom Clerk
March 1, 2010
